Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 1 of 7 PageID #:
                                     645
Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 2 of 7 PageID #:
                                     646
Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 3 of 7 PageID #:
                                     647
Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 4 of 7 PageID #:
                                     648
Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 5 of 7 PageID #:
                                     649
Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 6 of 7 PageID #:
                                     650
Case: 4:08-cr-00714-HEA   Doc. #: 243 Filed: 06/08/09   Page: 7 of 7 PageID #:
                                     651
